Case 2:18-cv-12822-MCA-JAD Document 6 Filed 11/13/18 Page 1 of 2 PagelD: 27

UNITED STATES DISTRICT COURT
for the
District of New Jersey

 

 

LEE KENWORTHY as the
Administrator for the ESTATE
OF SHAYLING KENWORTHY AND LEE
KENWORTHY, Individually,

Plaintiff,
vs.

LYNDHURST POLICE DEPARTMENT,
OFFICER PHILIP REINA, in his
individual capacity, LYNDHURST
CHIEF OF POLICE JAMES

O'CONNOR, in his individual
capacity, SERGEANT RICHARD
PIZZUTI, in his individual

capacity, LYNDHURST TOWNSHIP
AMBULANCE SQUAD, TOWNSHIP OF
LYNDHURST, ROBERT MARTIN, ANN
MARTIN, RICHARD ANDERSON,
LAUREN ANDERSON, HOUSING
AUTHORITY OF BERGEN COUNTY,
ADAPT PHARMA - Distributor of
Naloxene,

Defendants.

 

 

Civil Action No.: 2:18-CV-

12822 -MCA-CLW

Civil Action

 

NOTICE OF MOTION TO DISMISS
FILED IN LIEU OF AN ANSWER

 

To:

Lee Kenworthy, Pro Se
127 Walton Street
Englewood, New Jersey

and
Lee Kenworthy, Pro Se

72 Constitution Boulevard
Whiting, New Jersey 08759

07631
Case 2:18-cv-12822-MCA-JAD Document 6 Filed 11/13/18 Page 2 of 2 PagelD: 28

SIR/MADAM:

PLEASE TAKE NOTICE that defendants will move before the
Honorable Madeline Cox Arleo, Chief United States District Judge,
for an Order Dismissing the Plaintiffs’ Complaint, with Prejudice.

In support of the motion, defendants wili rely on the attached
Brief, Statement of Undisputed Material Facts and Certification.

ORAL ARGUMENT IS REQUESTED.

 

 

ndants
1 Garret Mountajm Plaza, 5*® Floor
Woodland Park, /New Jersey 07424

Dated: November 13, 2018
